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                           UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF INDIANA
                                 TERRE HAUTE DIVISION

IN RE:                                        )       Chapter 13
                                              )
DAVID E. TALADAY (deceased) and               )       CASE NO. 16-80628-JJG-13
DIANA TALADAY,                                )
                                              )
         Debtor.                              )

    SECOND INTERIM APPLICATION FOR ALLOWANCE OF COMPENSATION
          AND REIMBURSEMENT OF OUT-OF-POCKET EXPENSES

         Hester Baker Krebs LLC (“HBK”), pursuant to 11 U.S.C. §330(a), Federal Rule of

Bankruptcy Procedure 2016, and local bankruptcy rule B-2016-1(a), and for its Second Interim

Application for Allowance of Compensation and Out-of-Pocket Expenses (the “Application”),

respectfully represents:

                                     I. Jurisdiction & Venue

         1.    This proceeding was commenced by the filing of a voluntary petition for relief under

Chapter 13 of Title 11, U.S.C., on September 15, 2016 (the “Petition Date”), by Diana and David E.

Taladay (now deceased) (collectively, the "Taladays" or "Debtor(s)").

         2.    This Court has jurisdiction over this application pursuant to 28 U.S.C. §§ 157 and

1334. Venue is proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409. This application

is a core proceeding pursuant to 28 U.S.C. §157(b)(2).

         3.    The statutory basis for the relief requested herein are section 105(a), 330(a),

Bankruptcy Rule 2016, and local rule S.D. Ind. B-2016-1(a).

                                    II. General Background

         4.    HBK has served as attorney for the Debtor(s) in this proceeding since shortly prior to

the Petition Date.
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       5.      HBK received an initial retainer prior to filing this proceeding. HBK is making this

application for allowance of services rendered and expenses incurred post-petition.

       6.      On January 30, 2018, Applicant filed a Final Application For Allowance of

Compensation and Reimbursement of Out-of-Pocket Expenses (“First Application”) [Doc. 133]

which was granted by an Order Authorizing Final Application For Allowance of Compensation and

Reimbursement of Out-Of-Pocket Expenses (”First Order”) [Doc. 141]. Applicant acknowledges

that First Application should not have been designated as “Final” but rather as a “First Interim”

application. The First Application covered fees and expenses through January 12, 2018, in the sum

of $31,917.60, less a credit for the retainer of $1,100.00, for a total balance of $30,817.60. The fees

and expenses awarded in the First Order have been paid in full.

       7.      HBK has not received any promises for compensation from any third parties and is to

be paid at HBK’s customary hourly rates.

       8.      This Application is an interim request for fees and expenses covering January 13,

2018, through March 29, 2021.

                                          III. Case Status

       9.      The Court confirmed the Taladays’ Third Amended Chapter 13 Plan [Doc. 102] (the

“Plan”) on October 3, 2017 [Doc. 119] (the “Confirmation Order”).

       10.     The primary asset of the Debtors was a commercial tract of real estate that was sold

on contract.

       11.     The contract balance was paid at closing on March 24, 2021, with the Trustee

receiving $193,750.00.




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                                IV. Itemization of Services Rendered

       12.        HBK has expended a total of 53.70 hours in rendering professional services necessary

and valuable to the Debtor(s) for the period covering January 13, 2018, through March 29, 2021.

The time is itemized on the invoices attached as Exhibit “A.”

       13.        The value of the services rendered is the sum of $16,099.70 based upon the

professional services actually rendered.

       14.        HBK has necessarily and properly incurred certain out-of-pocket expenses in

connection with its representation of the Debtor(s) in the amount of $1,249.81 for the time period

covering January 13, 2018, through March 29, 2021. The expenses are itemized on the invoices

attached as Exhibit “A.”

       15.        HBK has paid itself $1,705,65 from funds held in trust for the Debtor(s), leaving a

balance due of $15,643.86. A ledger entry reflecting invoices and payments on the Debtor(s)'

account is attached hereto as Exhibit "B."

                                         V. Request for Relief

       16.        HBK requests approval of its application for fees incurred totaling $16,099.70 plus

reimbursement of expenses advanced in the sum of $1,249.81, for a total award of $17,349.51 for the

time period covering January 13, 2018, through March 29, 2021.

       17.        HBK requests that such approved fees and expenses be paid by the Chapter 13

Trustee herein.

       WHEREFORE, HBK requests that the Court approve its Second Interim Application for

Allowance of Compensation and Reimbursement of Out-of-Pocket Expenses for the time period

covering January 13, 2018, through March 29, 2021; that an allowance of compensation be awarded


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it in the sum of $16,099.70 for professional services rendered, plus reimbursement of expenses

advanced in the sum of $1,249.81, for a total award of $17,349.51 , less monies paid from trust in the

amount of $1,705.65, leaving a balance due of $15,643.86; for an order authorizing the fees and

expense paid by the Chapter 13 Trustee herein; and for such other and further relief as is just and

proper.

                                               Respectfully submitted,

                                               HESTER BAKER KREBS LLC


                                               By____/s/ David R. Krebs
                                                   David R. Krebs
                                                   Hester Baker Krebs LLC
                                                   One Indiana Square, Suite 1330
                                                   Indianapolis, IN 46204
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                                  CERTIFICATE OF SERVICE

       I hereby certify that on March 31, 2021, a copy of the foregoing was filed electronically.
Notice of this filing will be sent to the following parties through the Court’s Electronic Case Filing
System. Parties may access this filing through the Court’s system.

           •   Donald J Bonomo dbonomo@coxlaw.net
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               sarah.herendeen@faegrebd.com
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               Kenyatta.Peerman@atg.in.gov, Carrie.Spann@atg.in.gov
           •   B. Scott Skillman scott.skillman@gmail.com, G1546@notify.cincompass.com
           •   U.S. Trustee ustpregion10.in.ecf@usdoj.gov

        I further certify that on March 31, 2021, a copy of the foregoing was service by electronic
mail or first-class U.S. Mail, postage prepaid, and properly addressed to the following:

       Diana Taladay (via electronic mail)

                                                      /s/ David R. Krebs
                                                      David R. Krebs




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